IN THE UNITED STATES DISTRICT COURT
FOR THE WESTERN DISTRICT OF NORTH CAROLINA
ASHEVILLE DIVISION
FILE NO: 1:25 CV 58-MOC-WCM

CHRISTOPHER JONAS BROOKS
PLAINTIFF

Proposed Surreply

ASHEVILLE DETOX LLC et al.

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}
V. } Exhibit A:
}
}
}
DEFENDENT }

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FILE NO: 1:25 CV 58-MOC-WCM |

CHRISTOPHER JONAS BROOKS }
PLAINTIFF }
}
}
V. } Exhibit A:
} | PLAINTIFE’S PROPOSED
} SURREPLY TO DEFENDANTS’
ASHEVILLE DETOX LLC et al. } REPLY
DEFENDENT }

NOW COMES Plaintiff Christopher Jonas Brooks, pro se, pursuant to the Court’s Order
granting leave, and responds to new arguments and exhibits raised for the first time in

Defendants’ Reply:

I. DEFENDANTS IMPROPERLY WEAPONIZED RULE 11 SAFE HARBOR
COMMUNICATIONS

Defendants’ submission of Plaintiff’s Ruie 11 safe harbor materials as "Exhibit A" violates:

e FRE 408 (protecting settlement communications);
e Judicial ethies by misusing safe harbor materials to distort the record’;

e Rule 11’s purpose of pre-filing resolution.

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IL. DEFENDANTS DECEPTIVELY BUNDLED DISTINCT COMMUNICATIONS
Defendants misled the Court by combining two legally distinct documents into a single "Exhibit

A”:

1. Plaintiffs Rule 11(c)(2) Safe Harbor Notice (served solely to comply with the 21-day
pre-filing requirement);

2. Plaintiffs Separate Settlement Proposal (an independent good-faith offer under FRE
408).

This deliberate conflation materially distorts the record and prejudices Plaintiff,

II. PLAINTIFE’S CONDUCT REMAINS PROPER
Plaintiff strictly complied with FRCP 11(b) and Local Rule 7.1? certification requirements. All

filings responded to Defendants’ document fabrication.

IV, CONCLUSION

The Court should:

1, STRIKE Exhibit A;

2. DISREGARD arguments relying on it;

3. SANCTION Defendants for abuse of process under Chambers v. NASCO.
Respectfully submitted,
/s/ Christopher Jonas Brooks

Christopher Jonas Brooks

Pro Se Plaintiff

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FOOTNOTES

* See Chambers v. NASCO, Inc., 501 U.S. 32, 46 (1991) (misusing litigation tools
undermines judicial integrity).

* Local Rule 7.1 (W.D.N.C.) requires motions to “state with particularity the grounds" — a
standard Plaintiff met.

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CERTIFICATE OF SERVICE

Thereby certify that a copy of the foregoing document was mailed/ delivered to the
following individuals at the addresses listed:

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Attorney for Defendants

This the 28" Day of May 2025

/s/ Christopher J. Brooks
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